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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                              Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                                    Phone: (312) 435-5850
             Chicago, Illinois 60604                                                          www.ca7.uscourts.gov




                                                    BRIEFING ORDER
 January 16, 2014


                                         STEVEN ROTHSTEIN,
                                         Plaintiff - Appellant

 No.: 14-1057                            v.

                                         AMERICAN AIRLINES, INCORPORATED,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 1:09-cv-02770
 Northern District of Illinois, Eastern Division
 District Judge Virginia M. Kendall
This court has received notice from the district court that the appellant paid the required
docketing fee.

Briefing will now proceed as follows:


 1.       The Appellant's brief of Steven Rothstein will be due by February 18, 2014 for 14-1057.

          The Appellee's brief of American Airlines, Incorporated will be due by March 17, 2014
 2.
          for 14-1057.

          The Appellant's reply brief of Steven Rothstein, if any, will be due by March 31, 2014
 3.
          for 14-1057.


NOTE:

Important Scheduling Notice!

Notices of hearing for particular appeals are mailed shortly before the date of oral argument. Criminal appeals are
scheduled shortly after the filing of the appellant's main brief; civil appeals after the filing of the appellee's brief. If
you foresee that you will be unavailable during a period in which your particular appeal might be scheduled, please
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          Case: 14-1057    Document: 3         Filed: 01/16/2014   Pages: 2


write the clerk advising him of the time period and the reason for such unavailability. Session data is located at
http://www.ca7.uscourts.gov/cal/calendar.pdf. Once an appeal is formally scheduled for a certain date, it is very
difficult to have the setting changed. See Circuit Rule 34(e).


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